      Case 16-40271-can11       Doc 731 Filed 01/26/18 Entered 01/26/18 06:17:05           Desc
                                  Main Document     Page 1 of 1
                                      U.S. Bankruptcy Court
                                    Western District of Missouri
                                           (Kansas City)

                                             )
   Mid-States Supply Company, Inc.            )                Chapter 11
                                             )
        Debtor                               )                 Case No. 16-40271-can11
                                             )
                                             )


                                  NOTICE OF ADDRESS CHANGE


PLEASE TAKE NOTICE that B.E. Capital Management Fund LP, a creditor in the cases of the
above-captioned debtors (“Debtors”), directs the Debtor and his representatives (including the claims
and distribution agent appointed in these cases) to change its address for the purposes of
administering its claims, and hereby request that services of any pleadings, notices, correspondence
and distributions relating to such claim be sent to the new address set forth below, effective as of the
date hereof.


                                   Former Address:
                                   B.E. Capital Management Fund LP
                                   205 East 42nd Street, 14th Floor
                                   New York, NY 10017

                                   New Address:
                                   B.E. Capital Management Fund LP
                                   228 Park Ave S #63787
                                   New York, New York 10003-1502



B.E. Capital Management Fund LP

By:___________________________

        Thomas Braziel, Managing Partner
Its: ___________________________

        01/26/2018
Date: _________________________
